      Case 3:13-cr-02718-GPC                   Document 49          Filed 08/30/13               PageID.112        Page 1 of 2
AO 245B (CASDRev. 05/13) Judgment in a Criminal Case                                                                 FILE
                                      UNITED STATES DISTRICT COU                                                    AUG 302013
                                             SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                 JUDGMENT IN A C
                                 V.                                   (For Offenses Committed On~or;-:A~ftfue~r~Nfiio~ve~mifme~,~iiq;t-2!~ii1
                  FRANCISCO RIVAS (I)
                                                                             Case Number:        13CR2718-GPC

                                                                          JOHN D. KIRBY
                                                                          Defendant's Attorney
REGISTRATION NO.                 40216298


IZI pleaded guilty to count(s)           1 of the Information
                                       -------------------------------------------------------------
o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                             Count
Title & Section                       Nature of Offense                                                                     NumberCs)
8: 1324(a)(l )(A)(ii),( v)(U)         Transportation of illegal aliens.                                                        I




    The defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

o The defendant has been found not guilty on count(s)
o Count(s)                                                                 is            dismissed on the motion of the United States.

IZI   Assessment: $100.00 waived.




IZI   Fine waived                               Forfeiture filed                                             , included herein.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.

                                                                          August 30. 2013



                                                                          HON. Gonzalo P. Curiel               .
                                                                          UNITED STATES DISTRICT JUDGE


                                                                                                                          13CR2718-GPC
      Case 3:13-cr-02718-GPC             Document 49      Filed 08/30/13       PageID.113        Page 2 of 2
AO 245B (CASD Rev. 05113) Judgment in a Criminal Case

DEFENDANT:                 FRANCISCO RIVAS (1)                                                    Judgment - Page 2 of 2
CASE NUMBER:               13CR271S-GPC

                                                IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of:
6 months.




o      Sentence imposed pursuant to Title 8 USC Section 1326(b).
o      The court makes the following recommendations to the Bureau of Prisons:




o      The defendant is remanded to the custody of the United States Marshal.

o      The defendant shall surrender to the United States Marshal for this district:
             ~
                 ------------------ A.M.                     on
                                                                  ------------------------------------
       o    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
o      Prisons:
       o    on or before
       o    as notified by the United States Marshal.
       o    as notified by the Probation or Pretrial Services Office.

                                                      RETURN
I have executed this judgment as follows:

       Defendant delivered on
                                ------------------------- to ------------------------------
at
     ------------------------ , with a certified copy of this judgment.
                                                                  UNITED STATES MARSHAL



                                    By                    DEPUTY UNITED STATES MARSHAL


                                                                                                       13CR2718-GPC
